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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                                             Case: 1:22−mc−00100
                                                             Assigned To : Howell, Beryl A.
IN RE APPLICATION OF THE NEW YORK                            Assign. Date : 10/21/2022
TIMES COMPANY AND CHARLIE                                    Description: Misc.
                                                   Case No. _______
SAVAGE FOR ACCESS TO CERTAIN                       Chief Judge Beryl A. Howell
DOCKETS, ORDERS, LEGAL BRIEFING,
AND ARGUMENT TRANSCRIPTS
ANCILLARY TO JANUARY 6 GRAND
JURY PROCEEDINGS



      APPLICATION OF THE NEW YORK TIMES COMPANY AND CHARLIE
        SAVAGE FOR ACCESS TO CERTAIN DOCKETS, ORDERS, LEGAL
     BRIEFING AND ARGUMENT TRANSCRIPTS ANCILLARY TO JANUARY 6
                      GRAND JURY PROCEEDINGS

       Pursuant to Local Criminal Rules 57.6 and 6.1, The New York Times Company and its

journalist Charlie Savage (together, “the Times”), by and through undersigned counsel,

respectfully move the Court for access to unsealed versions of judicial filings in certain

proceedings ancillary to grand jury proceedings, excluding the release of information regarding

matters “occurring before the grand jury.” In re Motions of Dow Jones & Co., 142 F.3d 496,

502-04 (D.C. Cir. 1998). Specifically, the Times seeks access to dockets, court opinions and

orders, legal briefing, and argument transcripts, including such materials regarding the scope of

executive privilege invoked by former President Donald J. Trump or former Trump

Administration officials, redacted to remove factual material that is properly subject to secrecy

under Rule 6(e) of the Federal Rules of Criminal Procedure. McKeever v. Barr, 920 F.3d 842

(D.C. Cir. 2019).

       For the reasons set forth above, and explained more fully in the accompanying

Memorandum of Points and Authorities, The Times respectfully requests that the Court grant this

application and unseal versions of the requested documents.
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    Dated: October 21, 2022   Respectfully submitted,

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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


IN RE APPLICATION OF THE NEW YORK
TIMES COMPANY AND CHARLIE            Case No. _______
SAVAGE FOR ACCESS TO CERTAIN         Chief Judge Beryl A. Howell
DOCKETS, ORDERS, LEGAL BRIEFING,
AND ARGUMENT TRANSCRIPTS
ANCILLARY TO JANUARY 6 GRAND
JURY PROCEEDINGS




MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF APPLICATION
OF THE NEW YORK TIMES COMPANY AND CHARLIE SAVAGE FOR ACCESS TO
     CERTAIN DOCKETS, ORDERS, LEGAL BRIEFING AND ARGUMENT
   TRANSCRIPTS ANCILLARY TO JANUARY 6 GRAND JURY PROCEEDINGS




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                      LOCAL RULE 57.6 STATEMENT OF INTEREST

         The New York Times Company, publisher of The New York Times (“The Times”), is a

print and digital news organization with more than nine million subscribers worldwide, and more

than 150 million monthly global readers. With more than 1,700 journalists on staff, the company

is “dedicated to helping people understand the world through on-the-ground, expert and deeply

reported independent journalism.”1 In its 171-year history, The Times has won 132 Pulitzer

Prizes and numerous other recognitions for its work to shed light on matters of public concern.

As relevant here, The Times and its journalists, including Washington correspondent Charlie

Savage,2 regularly cover U.S. political and criminal news, and their intersection, such as the

various criminal investigations related to the January 6, 2021, Capitol attack and other efforts to

overturn the results of the 2020 presidential election.

                                PRELIMINARY STATEMENT

         The Times and other news media outlets reported several weeks ago on the existence of a

closed-door legal dispute in this Court over the scope of executive privilege that a former

president and his aides may properly assert in grand jury proceedings related to 2020 presidential

election and the January 6, 2021, certification of that election’s results. See, e.g., Alan Feuer and

Maggie Haberman, Trump Lawyers Push to Limit Aides’ Testimony in Jan. 6 Inquiry, N.Y.

TIMES (Sept. 23, 2022), https://www.nytimes.com/2022/09/23/us/trump-privilege-

investigation.html (attached hereto as Exhibit H) (“Lawyers for former President Donald J.

Trump are engaged in a behind-the-scenes legal struggle to limit the scope of a federal grand jury

investigation into the role he played in seeking to overturn the 2020 election, according to people

1
    See Company, The New York Times Company, available at https://www.nytco.com/company/.
2
  This application is brought jointly by The New York Times Company and Mr. Savage
(together, “The Times”).



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familiar with the matter.”); see also Evan Perez, Katelyn Polantz & Zachary Cohen, Exclusive:

Trump’s secret court fight to stop grand jury from getting information from his inner circle,

CNN (Sept. 24, 2022) https://www.cnn.com/2022/09/23/politics/trump-grand-jury-court-

fight/index.html (attached hereto as Exhibit I). Subsequent news reports have indicated that this

dispute has been resolved, at least in part, in a “sealed decision” by this Court. See Spencer S.

Hsu, Josh Dawsey & Jacqueline Alemany, Judge bucks Trump, orders Pence aide to testify to

Jan. 6 grand jury, Wash. Post (Oct. 14, 2022), https://www.washingtonpost.com/dc-md-

va/2022/10/14/marc-short-grand-jury-testify-pence-trump (attached hereto as Exhibit K).

        The Times recognizes that, under controlling authority in this Circuit, the Court can

unseal information that would disclose “matters occurring before a grand jury” only where

permitted by Rule 6(e) of the Federal Rules of Criminal Procedure, McKeever v. Barr, 920 F.3d

842 (D.C. Cir. 2019),3 and The Times expressly does not seek the disclosure here of information

that rule does not permit. Specifically, The Times does not seek “‘the identities of witnesses or

jurors, the substance of testimony . . . the strategy or direction of the investigation, the

deliberations or questions of jurors, and the like,’” In re Motions of Dow Jones & Co. (“Dow

Jones”), 142 F.3d 496, 500 (D.C. Cir. 1998) (citations omitted), at least at this time, In re Grand

Jury Proceedings (Miller), 493 F.3d 152, 154 (D.C. Cir. 2007) (“[W]hen once-secret grand jury

material becomes sufficiently widely known, it may lose its character as Rule 6(e) material.”);

see also CNN v. United States (In re Unseal Dockets Related to the Indep. Counsel’s 1988

Investigation of President Clinton), 2020 U.S. App. LEXIS 15468, at *2 (D.C. Cir. May 13,

2020) (same).

    3
     The Times does not argue that another statutory basis for disclosure of Rule 6(e) material
applies here. See, e.g., In re Application of Reporters Committee for Freedom of the Press, 2019
U.S. Dist. LEXIS 165910, at *4 n.2 (D.D.C. Sept. 26, 2019) (Howell, C.J.) (noting possible
additional statutory bases for disclosure of Rule 6(e) grand jury materials).



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       What the Times does seek is access to redacted versions of any dockets, court opinions or

orders, legal briefing, and argument transcripts ancillary to the grand jury investigation,

including such materials regarding the scope of executive privilege invoked by former President

Donald J. Trump or former Trump Administration officials. As set forth below, it has become

public knowledge that such privilege assertions have been made in motion practice ancillary to a

grand jury investigation. Because this legal issue—among others, perhaps—is distinct from the

proceedings before the grand jury, this Court has discretion pursuant to Local Criminal Rule 6.1

to unseal the relevant documents, at least in part. “Papers, orders, and transcripts of hearings” in

proceedings ancillary to grand jury proceedings may properly be unsealed, so long as they do not

disclose matters occurring before a grand jury. L. Crim. R. 6.1. Given the profound national

interest in the purely legal issues being resolved through these judicial documents, The Times

respectfully requests that the Court exercise its discretion to unseal redacted versions of any

rulings by the Court, motions briefing, or hearing transcripts related to the privilege issue.

                            RELEVANT PUBLIC BACKGROUND

       It is public knowledge, of course, that grand juries in this District have considered

evidence relating to the January 6, 2021, attack on the U.S. Capitol. Indeed, 15 months ago this

Court noted that, “[t]o date, over 170 indictments, charging more than 200 Capitol attack

defendants with felony offenses, have been returned by grand juries sitting in this District.” In re

Capitol Breach Grand Jury Investigations Within the District of Columbia, 339 F.R.D. 1, 7

(D.D.C. 2021).

       According to numerous news reports in recent months, the Jan. 6-related investigations

have expanded to election certification-related activities by officials in the Trump

Administration. The Times reported in May 2022 that the investigators had expanded their focus

to encompass “the creation of alternate slates of pro-Trump electors seeking to overturn Joseph


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R. Biden Jr.’s victory in the 2020 election, with a particular focus on a team of lawyers that

worked on behalf of President Donald J. Trump.” See Alan Feuer, Kate Benner & Luke

Broadwater, Intensifying Inquiry Into Alternate Electors Focuses on Trump Lawyers, N.Y. TIMES

(May 25, 2022), https://www.nytimes.com/2022/05/25/us/politics/pro-trump-lawyers-elector-

scheme.html (attached hereto as Exhibit A). According to that news report, grand jury

subpoenas were issued to Trump lawyers Rudolph W. Giuliani and John Eastman, among others.

Id.

       Later in the summer, ABC News reported that Marc Short, former chief of staff to former

Vice President Mike Pence, appeared before the grand jury, while CNN reported that former

Pence counsel Greg Jacob testified. Other news organizations matched those reports. See Alan

Feuer & Maggie Haberman, Top Pence Aides Testify to Grand Jury in Jan. 6 Investigation, N.Y.

TIMES (July 25, 2022), https://www.nytimes.com/2022/07/25/us/politics/marc-short-pence-jan-

6.html (attached hereto as Exhibit B). In the following weeks, former Trump White House

counsel Pat A. Cipollone, deputy counsel Patrick Philbin, and Trump lawyer Eric Herschmann

reportedly received similar subpoenas. See Maggie Haberman & Luke Broadwater, Justice

Dept. Subpoenas Pat Cipollone, Trump White House Counsel, N.Y. TIMES (Aug. 2, 2022),

https://www.nytimes.com/2022/08/02/us/politics/pat-cipollone-subpoena.html (attached hereto

as Exhibit C); Betsy Woodruff Swan, Justice Department subpoenas Trump White House lawyer

Eric Herschmann, POLITICO (Aug. 15, 2022), https://www.politico.com/news/2022/08/15/justice-

department-subpoenas-trump-lawyer-eric-herschmann-00051899 (attached hereto as Exhibit D);

see also Spencer S. Hsu, Trump White House counsel Cipollone appears before Jan. 6 grand

jury, WASH. POST (Sept. 2, 2022), https://www.washingtonpost.com/dc-md-




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va/2022/09/02/cipollone-philbin-jan6-grand-jury/ (attached hereto as Exhibit E) (noting that

Cipollone and Philbin were observed at courthouse to appear before grand jury).

       In mid-September, The Times reported on the service of about 40 additional grand jury

subpoenas, including to a number of individuals associated with the either the Trump

Administration or the Trump campaign, seeking information on the fake elector plan. See Glenn

Thrush, Maggie Haberman, Adam Goldman & Alan Feuer, Justice Dept. Issues 40 Subpoenas in

a Week, Expanding its Jan. 6 Inquiry, N.Y. TIMES (Sept. 12, 2022), https://www.nytimes.com/

2022/09/12/us/politics/trump-aides-jan-6-doj.html (attached hereto as Exhibit F) (“The new

subpoenas encompass a wide variety of those in Mr. Trump’s orbit, from low-level aides to his

most senior advisors.”). A number of the witnesses had previously provided public testimony to

the House select committee. Counsel for one of the subpoena recipients, Bernard B. Kerik,

confirmed the grand jury subpoena. Id.

       Executive privilege took center stage in a Sept. 16 news report based on emails between

former Trump White House lawyer Eric Herschmann and Trump lawyers, which were obtained

by The Times:

       For weeks this summer, Mr. Herschmann tried to get specific guidance from Mr.
       Trump’s current lawyers on how to handle questions from prosecutors that raise
       issues of executive privilege or attorney-client privilege.

       After ignoring Mr. Herschmann or giving him what he seemed to consider
       perplexing answers to the requests for weeks, two of the former president's
       lawyers, M. Evan Corcoran and John Rowley, offered him only broad instructions
       in late August. Assert sweeping claims of executive privilege, they advised him,
       after Mr. Corcoran had suggested that an unspecified “chief judge” would
       ultimately validate their belief that a president's powers extend far beyond their
       time in office.

       Mr. Herschmann, who served on Mr. Trump’s first impeachment defense team
       but later opposed efforts to reverse the results of the 2020 election, was hardly
       reassured and sounded confused by the reference to a chief judge.




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       “I will not rely on your say-so that privileges apply here and be put in the middle
       of a privilege fight between D.O.J. and President Trump,” Mr. Herschmann, a
       former prosecutor, responded in an email, referring to the Justice Department. The
       exchange was part of a string of correspondence in which, after having his
       questions ignored or having the lawyers try to speak directly with him on the
       phone instead, Mr. Herschmann questioned the competence of the lawyers
       involved.

Maggie Haberman & Glenn Thrush, Trump’s Team of Lawyers Marked by Infighting and

Possible Legal Troubles of Its Own, N.Y. TIMES (Sept. 16, 2022),

https://www.nytimes.com/2022/09/16/us/politics/trump-lawyers-herschmann.html

(attached hereto as Exhibit G).

       CNN and The Times disclosed an apparent closed hearing on September 22, 2022,

regarding a motion filed on or about Sept. 1 by lawyers for former President Trump to assert the

executive privilege. See Exhibits H, I. As The Times noted, in its analysis of the importance of

the privilege issue being litigated:

       In the Jan. 6 investigation, the Justice Department has obtained grand jury
       subpoenas for several former aides to Mr. Trump seeking testimony about his
       conversations. Mr. Trump’s lawyers have instructed them not to answer
       questions, based on a broad conception of his residual powers of executive
       privilege, even though Mr. Biden has rejected the idea as not in the best interests
       of the United States.

       A dispute over whether those witnesses may lawfully decline to answer certain
       questions is now playing out before Beryl Howell, the chief judge of the Federal
       District Court for the District of Columbia, behind closed doors, according to
       people familiar with the matter.

Charlie Savage & Glenn Thrush, Jan. 6 and Mar-a-Lago Inquiries Converge in Fights Over

Executive Privilege, N.Y. Times (Sept. 30, 2022), https://www.nytimes.com/2022/09/30/us/

politics/trump-executive-privilege.html (attached hereto as Exhibit J). Most recently, The

Washington Post reported on October 14 that the Court issued a sealed decision on the scope of

the privilege—and that the U.S. Court of Appeals for the D.C. Circuit declined an emergency

motion to stay that testimony. See Exhibit K.


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       In short, the Justice Department’s use of grand jury subpoenas to obtain documents and

testimony related to the events leading up to the Jan. 6 riot, including from former Trump

administration officials, is well known.


                                           ARGUMENT

I.     THE COURT HAS DISCRETION UNDER LOCAL RULE 6.1 TO
       UNSEAL INFORMATION IN ANCILLARY PROCEEDINGS THAT
       WOULD NOT REVEAL ACTIVITIES “OCCURRING BEFORE THE
       GRAND JURY”

       As this Court has noted, Fed. R. Crim. P. 6(e)(6) “requires that ‘[r]ecords, orders, and

subpoenas related to grand-jury proceedings . . . be kept under seal’ only ‘to the extent and as

long as necessary to prevent the unauthorized disclosure of a matter occurring before a grand

jury.’” In re Capitol Breach Grand Jury Investigations, 339 F.R.D. 1 at 7 n.5 (D.D.C. 2021)

(quoting Fed. R. Crim. P. 6(e)(6)).

       As such, “judicial proceedings ancillary to a grand jury proceeding, which may include a

motion ‘to quash a subpoena, or to compel testimony, or to immunize a witness,’ as well as the

attendant records, shall be shielded from the public to the extent necessary to prevent disclosure

of matters occurring before a grand jury.” In re Grand Jury Subpoenas, 2019 U.S. Dist. LEXIS

88421, at *5 (D.D.C. Apr. 1, 2019) (citing Dow Jones, 142 F.3d at 502; Fed. R. Crim. P. 6(e)(5),

(6); L. Crim. R. 6.1) (emphasis added). Local Rule 6.1 therefore provides that unsealing may

occur when not necessary to preserve the secrecy of matters before the grand jury. L. Crim. R.

6.1. Where the need for secrecy as to the witnesses to or substantive testimony of grand jury

witnesses ends, the Court has discretion to unseal documents, in whole or part. Rule 6.1 thus

“may be implemented by releasing redacted documents.” Id. at *5, 14 (“At bottom, Local

Criminal Rule 6.1 provides the Reporters Committee with access to the briefs and transcripts,




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with any matters occurring before the grand jury redacted.”); see also Dow Jones, 142 F.3d at

505 (remanding for consideration of possible redactions).

II.     THE COURT SHOULD EXERCISE ITS DISCRETION TO UNSEAL
        THOSE PORTIONS OR COURT ORDERS, BRIEFING, AND
        ARGUMENT TRANSCRIPTS THAT DO NOT REVEAL INFORMATION
        OCCURRING BEFORE A GRAND JURY

        The D.C. Circuit has recognized that “[t]here can be no doubt that assertions of executive

privilege are rightly matters of intense public interest.” Dow Jones, 142 F.3d at 503. Nor can

there reasonably be any “doubt of the value of public scrutiny of assertions of executive

privilege.” Id. While that was true with regard to the executive privilege assertions at issue in

Dow Jones, by a sitting president, the public interest in the legal arguments is even stronger here,

where the privilege invoked by a former president lacks the support of a current president and

raises novel constitutional issues. See Exhibit J (“President Biden is not backing Mr. Trump’s

attempt to use that power, and many legal scholars and the Justice Department have argued that

he is stretching the narrow executive privilege rights the Supreme Court has said former

presidents may invoke.”). The privilege claim also emerges from a presidential election, a

matter of profound national moment.

        Therefore, even with the redaction of any Rule 6(e) information within the order,

briefing, or transcripts that disclose details about proceedings before the grand jury—“‘the

identities of witnesses or jurors, the substance of testimony . . . the strategy or direction of the

investigation, the deliberations or questions of jurors, and the like,’” Dow Jones, 142 F.3d at

500—much remains of public interest. The remaining legal arguments about the proper scope of

the executive privilege, and any rulings made by this Court on the legal scope of the privilege

based on those arguments, is of tremendous public and historical importance. It will also have

“significant ramifications,” as The Times recently noted:



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       As the Justice Department investigates both Mr. Trump’s attempt to overturn the
       2020 election and his retention of sensitive documents at his Florida residence, his
       legal team has repeatedly claimed that he has retained power to keep information
       secret, allowing him to block prosecutors from obtaining evidence about his
       confidential Oval Office communications.

       President Biden is not backing Mr. Trump’s attempt to use that power, and many
       legal scholars and the Justice Department have argued that he is stretching the
       narrow executive privilege rights the Supreme Court has said former presidents
       may invoke. But there are few definitive legal guideposts in this area, and the
       fights could have significant ramifications.

       In the short term, the disputes could determine whether Mr. Trump is able to use
       the slow pace of litigation to delay or impede the inquiries. They could also
       establish new precedents clarifying executive secrecy powers in ways that will
       shape unforeseen clashes involving future presidents and ex-presidents.

Exhibit J.

       The Times therefore respectfully requests that the Court enter an order similar to that in

In re Grand Jury Subpoena, directing the government to propose appropriate Rule 6(e)

redactions, within 14 days, for any dockets, court orders or opinions, legal briefing, or argument

transcripts ancillary to the grand jury or juries described herein, including such materials

litigating the scope of executive privilege invoked by former President Donald J. Trump or

former Trump Administration officials. 2019 U.S. Dist. LEXIS 88421, at *16.


                                         CONCLUSION

       For all of the foregoing reasons, The Times respectfully requests that this Court grant the

application and unseal redacted public versions of the documents ancillary to grand jury

proceedings described herein.




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Dated: October 21, 2022   Respectfully submitted,

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